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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                 )
CASHMAN EQUIPMENT CORP.,                         )
                                                 )
       Plaintiff,                                )
vs.                                              )
                                                 )       Civil Action No. 1:21-cv-10862-RGS
EMCs CARIBBEAN LTD., CRAIG                       )
NOBLETT, NERVIN WHEATLEY, and                    )
ASHBURN HARRIGAN,                                )
                                                 )
       Defendants.                               )
                                                 )

                                   AFFIDAVIT OF SERVICE

       I, the undersigned Stephen W. Rider, Esq., do upon my oath depose and say as follows:

       1.       I am co-counsel to the Plaintiff in this action, Cashman Equipment Corp.

       2.       On October 7, 2021, the Clerk entered a default against the Defendants pursuant

to Fed. R. Civ. Pro. Rule 55(a) for failure to plead or otherwise defend against this action, after

service. (Docket Doc. # 15).

       3.       In connection with the issuance of this default, the Court instructed in the Docket

Entry that, “Plaintiff is directed to serve defendants with this notice and provide proof of service

on the docket.” Id.

       4.       Plaintiff was successful in serving the corporate Defendant EMCs Caribbean, Ltd.

See Docket Entry No. 17.

       5.       Despite diligent efforts, Plaintiff has been unable to locate a known business or

personal address for any of the three individual Defendants Noblett, Wheatly and Harrigan.
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       6.       Accordingly, pursuant to Fed. R. Civ. Pro. Rule 5(b)(2)(D), I caused a copy of the

Notice of Default to be delivered to the Clerk of Court for each individual. See Docket Entry #

18 through # 20.

       SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY THIS 12TH DAY OF

NOVEMBER, 2021.




                                            __/s/ Stephen W. Rider____________________
                                            Stephen W. Rider, Esq., BBO # 419820
                                            Stephen W. Rider, P.C.
                                            350 Lincoln Street – Suite 2400
                                            Hingham, MA 02043
                                            Tel: 781-740-1289
                                            Fax: 781-207-9160
Dated: November 12, 2021                    Email: stephen.rider@swrpc.com




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                                 CERTIFICATE OF SERVICE


       I, Stephen W. Rider, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be served upon all the non-registered Defendants, who have not

been defaulted, by mail.



                                                           /s/ Stephen W. Rider        .
                                                       Stephen W. Rider




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